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        EXHIBIT 21
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    From:               Christopher Greene
    To:                 James Kolenjch
    Cc:                 Bowman. Philip M ; Gabrielle E Tenzer: Yotam Barkai
    Subject:            Sines v. Kessler - SCA Consent
    Date:               Tuesday, December 4, 2018 2:56:41 PM
    Attachments:        Scan M. Heimbach (Q02).pdf

    Jim,


    We'd like to bring to your attention two issues pertaining the SCA consents that your clients
    provided.


           • We understand that Tony Hovater sent an SCA consent to Discord, but that he did so with
             respect only to his personal account, and not for the Traditionalist Worker Party account for
             which he had previously provided a hand-signed consent. Please have Mr. Hovater send an
             appropriate consent to the SCA@bsfllp.com address for the @tradworker Discord user
             account.

           • Defendant Heimbach provided the attached SCA consent that does not identify the e-mail
             address with which he signed up for his Discord account, as is required. Please have
             Defendant Heimbach resend his SCA consent with the e-mail address identified.

    Regards,

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    New York, New York 10118
    (W) 929.294.2528 I (M) 646.856.6861
    cgreene@kaplanhecker com
